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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                 FORT PIERCE DIVISION

 HOWARD COHAN,

        Plaintiff,
 vs.                                                        CASE NO.: 2:22-CV-14223-KMM


 PREMIER HOSPITALITY, INC.
 a Florida Profit Corporation
 d/b/a COMFORT SUITES

       Defendant(s).
 ____________________________________/
             NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff, HOWARD COHAN and his

 undersigned counsel hereby give notice that the above captioned action is voluntarily dismissed,

 with prejudice against Defendant, PREMIER HOSPITALITY, INC., a Florida Profit Corporation,

 d/b/a COMFORT SUITES.

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on July 27, 2022, I electronically filed the foregoing document

 with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

 served this day on Counsel for Defendant, William Salim, Esq., via Email at:

 Wsalim@mmsslaw.com.

                                                    By: /s/ Gregory S. Sconzo
                                                    Gregory S. Sconzo, Esq.
                                                    Florida Bar No.: 0105553
                                                    Samantha L. Simpson, Esq.
                                                    Florida Bar No.: 1010423
                                                    Sconzo Law Office, P.A.
                                                    3825 PGA Boulevard, Suite 207
                                                    Palm Beach Gardens, FL 33410
                                                    Telephone: (561) 729-0940
                                                    Facsimile: (561) 491-9459
                                                    Email: greg@sconzolawoffice.com
                                                    Email: samantha@sconzolawoffice.com
                                                    Attorney for Plaintiff
